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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,
                                              No. 07 CR 410-20
      v.
                                              Hon. Harry D. Leinenweber
KWAME ANTHONY,

                      Defendant.
                                    ORDER

     Before the Court is Defendant Kwame Anthony’s motion for a
reduction of his sentence under 18 U.S.C. § 3582(c)(2). (ECF No.
1279). Anthony argues that he is entitled to a reduced sentence
in light of Amendment 782, in which the Sentencing Commission
reduced retroactively its Guideline ranges for quantity-based
drug offenses. For the reasons stated below, Anthony’s motion is
granted and his sentenced is reduced from 60 months to 57
months.

     Anthony was sentenced based on a finding that he obtained
and resold approximately seven kilograms of cocaine and 500
grams of heroin. Anthony pleaded guilty and was originally
assigned a base offense level of 32, which was then reduced by 5
levels, resulting in a combined offense level of 27. Anthony’s
prior conduct placed him in Criminal History Category I, which
resulted in a guideline range of 70-87 months, but the Court
ultimately sentenced Anthony to 60 months imprisonment.

     Amendment 782 is one of many recent amendments to the
Sentencing Guidelines. The Government does not dispute that the
amendment applies to Anthony and that his new guideline range,
if sentenced today, would be 57-71 months. The Government
correctly notes, however, that the Court’s authority here is
limited. Although the Court originally sentenced Anthony well
below the original minimum guideline range, the Court cannot
adjust Anthony’s sentence to anything lower than the new minimum
of 57 months. Congress gave the Sentencing Commission the
exclusive authority to determine by how much a previously
imposed sentence may be reduced. See Dillon v. United States,
560 U.S. 817, 826 (2010). This authority “is absolute.” United
States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014). The
Commission has clearly stated that a district court may not
“reduce the defendant’s term of imprisonment under [§ 3582] and
this policy statement to a term that is less than the minimum of

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the amended guideline range.” U.S.S.G. § 1B1.10(b)(2). Thus, at
most, the Court may reduce Anthony’s sentence from 60 months to
57 months.

     The Government has left it to the Court to decide whether
to grant this 3 month reduction. In deciding whether to grant a
reduction, the Court must refer to the § 3553 factors. Dillon,
560 U.S. at 826. Those factors include the nature of the
offense, the need to protect the public, and the need to provide
just punishment, among others. 18 U.S.C. § 3553(a). Although not
taking a hard stance, the Government notes that, during his
incarceration, Anthony has been disciplined for possessing a
hazardous tool, assaulting without serious injury, and phone
abuse. These offenses, although not to be taken lightly, do not
appear too serious. Moreover, the Court initially found that a
just punishment in this case called for a sentence 10 months
below the original guideline minimum, which is something the
Court   cannot  do  here,   as  discussed  above.   Under  these
circumstances, the Court finds that a 3 month reduction is
warranted.

     For the reasons stated above, the Court grants Anthony’s
motion for reduction of sentence, (ECF No. 1279), and reduces
Anthony’s sentence from 60 months to 57 months.

SO ORDERED.

Dated:8/4/2015
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                                          Harry D. Leinenweber, Judge
                                          United States District Court




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